                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
                       v.                              )      No. 10-4036-02-CR-C-NKL
                                                       )
CHARITY JEAN STEINBRINK,                               )
                                                       )
                               Defendant..             )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Charity Jean Steinbrink, by consent, appeared before the undersigned on
December 13, 2011, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule
72(c)(1)(j), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts One and Two of the
Third Superseding Indictment filed on September 2, 2011. After cautioning and examining the
defendant, under oath, in accordance with the requirements of Rule 11, it was determined that the
guilty plea was made with full knowledge of the charges and the consequences of pleading guilty,
was voluntary, and that the offenses to which the defendant has plead guilty are supported by a
factual basis for each of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Charity Jean Steinbrink be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 14th day of December, 2011, at Jefferson City, Missouri.



                                                /s/   Matt J. Whitworth
                                                MATT J. WHITWORTH
                                                United States Magistrate Judge



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